Case: 5:13-cr-00052-KKC Doc #: 866 Filed: 10/16/20 Page: 1 of 5 - Page ID#: 3199




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   LEXINGTON


  UNITED STATES OF AMERICA,                     )
       Plaintiff,                               )      CRIMINAL NO. 5:13-52
                                                )
  v.                                            )      OPINION AND ORDER
                                                )
  RONDALE LAMONT McCANN,                        )
      Defendant                                 )


                                             *******


         This matter is before the Court on defendant Rondale Lamont McCann’s motion

  (DE 861) for an order that he be released from prison or placed on home confinement. In

  support of his motion, McCann cites 18 U.S.C. § 3582(c)(1)(A), which provides for what

  is commonly referred to as “compassionate release.”

         By judgment dated August 25, 2014, this Court sentenced McCann to a prison

  term of 192 months after he pleaded guilty to conspiring to distribute 280 grams or more

  of cocaine base. He moves to modify his sentence under 18 U.S.C. § 3582(c)(1)(A),

  which provides for what is commonly referred to as “compassionate release.” He states

  that he is 38 and suffers from high blood pressure and sleep apnea and is pre-diabetic. He

  asserts that these conditions make him more susceptible to serious illness or death if he

  contracts COVID-19. He asserts that multiple inmates and staff members at FCI Terre

  Haute, where he is incarcerated, have been diagnosed with COVID-19, including one of

  his cellmates, who was removed from the cell and quarantined.
Case: 5:13-cr-00052-KKC Doc #: 866 Filed: 10/16/20 Page: 2 of 5 - Page ID#: 3200




           18 U.S.C. § 3582(c)(1)(A) allows a court, upon a proper motion, to modify a term

  of imprisonment and grant what is commonly referred to as “compassionate release.”

  Prior to the First Step Act, PL 115-391, 132 Stat 5194 (Dec. 21, 2018), the court could

  not grant a motion for compassionate release unless the director of the Bureau of Prisons

  (BOP) filed the motion. See 18 U.S.C. § 3582(c)(1)(A) (2017). The First Step Act

  amended § 3582(c)(1)(A) to allow the court to grant a motion for compassionate release

  filed by the defendant himself “after the defendant has fully exhausted all administrative

  rights to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

  behalf or the lapse of 30 days from the receipt of such a request by the warden of the

  defendant’s facility, whichever is earlier . . . .” 18 U.S.C.A. § 3582(c)(1)(A); PL 115-

  391, 132 Stat 5194 § 603 (Dec. 21, 2018).

           The Sixth Circuit recently determined that the occurrence of one of the two events

  mentioned in the statute is a “mandatory condition” to the Court granting relief. United

  States v. Alam, 960 F.3d 831, 833 (6th Cir. 2020). If the government “properly invoke[s]”

  the condition, the Court must enforce it. Id. at 834. The government does not dispute that

  McCann filed this motion more than 30 days after he requested compassionate release

  from the warden. Accordingly, the Court has authority to consider his request for

  compassionate release.

           To the extent that McCann asks that the Court order that he serve the remainder of

  his sentence on home confinement, this Court has no authority to do so. The BOP is the

  entity that has the authority to designate the place of a prisoner’s imprisonment, not the

  court. 18 U.S.C. § 3621(b); United States v. Townsend, 631 F. App'x 373, 378 (6th Cir.

  2015).



                                               2
Case: 5:13-cr-00052-KKC Doc #: 866 Filed: 10/16/20 Page: 3 of 5 - Page ID#: 3201




         The compassionate release statute permits this Court to “reduce the term of

  imprisonment” and “impose a term of probation or supervised release with or without

  conditions that does not exceed the unserved portion of the original term of

  imprisonment.” 18 U.S.C.A. § 3582(c)(1)(A). Under the applicable provision of Section

  3582(c)(1)(A), however, the Court may grant this relief only if it finds that “extraordinary

  and compelling reasons warrant such a reduction,” and the “reduction is consistent with

  applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.A. §

  3582(c)(1)(A)(i).

         The statute does not define “extraordinary and compelling.” Nevertheless, the

  policy statement by the Sentencing Commission applicable to Section 3582(c)(1)(A) sets

  forth the circumstances under which extraordinary and compelling reasons exist for

  modifying a sentence.

         One of these is the medical condition of the defendant. The defendant must be

  suffering from a “terminal illness,” or he must be suffering from a serious physical or

  mental impairment “that substantially diminishes the ability of the defendant to provide

  self-care within the environment of a correctional facility and from which he or she is not

  expected to recover.” U.S. Sentencing Guidelines Manual § 1B1.13 cmt. n.1. McCann

  does not assert, nor is there an evidence in the record, that he has a terminal illness as

  defined under the policy statement. Likewise, he does not assert, nor is there any

  evidence in the record, that he has a permanent impairment that has substantially

  diminished his ability to provide self-care within the prison environment.

         The policy statement also has a catchall provision, which provides that undefined

  “other reasons” may exist that constitute an extraordinary and compelling reason to



                                                3
Case: 5:13-cr-00052-KKC Doc #: 866 Filed: 10/16/20 Page: 4 of 5 - Page ID#: 3202




  modify a sentence. These “other reasons” may only be “determined by the Director of the

  Bureau of Prisons.” U.S.S.G. § 1B1.13 n. 1 (D). This Court has no authority to find

  “other reasons” that may justify a sentence reduction beyond those delineated in the

  policy statement. See United States v. Lynn, No. CR 89-0072-WS, 2019 WL 3805349, at

  *2 (S.D. Ala. Aug. 13, 2019).

         Even if extraordinary and compelling circumstances did exist, the Court must still

  consider whether “the factors set forth in section 3553(a) to the extent that they are

  applicable” support the requested sentence reduction. 18 U.S.C. § 3582(c)(1)(A); see

  United States v. Spencer, No. 20-3721, 2020 WL 5498932, at *2 (6th Cir. Sept. 2, 2020).

  These factors include, among other things: (1) “the nature and circumstances of the

  offense and the history and characteristics of the defendant;” (2) the sentencing range for

  the applicable category of offense; and (3) the need for the sentence imposed to

  adequately deter criminal conduct, to protect the public from the defendant’s further

  crimes, and to “reflect the seriousness of the offense, to promote respect for the law, and

  to provide just punishment for the offense.” 18 U.S.C. § 3553(a). The court must also

  find that the defendant “is not a danger to the safety of any other person or to the

  community.” U.S. Sentencing Guidelines Manual § 1B1.13 (referencing 18 U.S.C. §

  3142(g)).

         The Court commends McCann for the actions and courses he has taken while

  imprisoned to better himself and prepare for a successful, meaningful, and responsible

  life upon his release from prison. Nevertheless, the Court cannot find that the factors

  under 18 U.S.C. § 3553(a) support his release at this time. He was convicted of

  conspiring with others to distribute a large amount of crack cocaine. He has served less



                                                4
Case: 5:13-cr-00052-KKC Doc #: 866 Filed: 10/16/20 Page: 5 of 5 - Page ID#: 3203




  than half of his 192-month sentence. He has a considerable criminal history beyond this

  charge, including a prior charge for distributing cocaine and a 2017 federal conviction for

  conspiring to commit mail and wire fraud in connection with a plan to commit arson to

  obtain insurance proceeds. (Case No. 5:15-89). He was sentenced to 57 months in that

  case to run concurrent with the sentence in this case.

         Considering the need for his prison term to deter future criminal conduct, promote

  respect for the law, and provide just punishment, release is not appropriate. Further,

  based upon the record before it, the Court cannot find that McCann would not pose a

  danger to the safety of any person or the community if he were to be released.

         For these reasons, the Court HEREBY ORDERS that McCann’s motion (DE 861)

  for an order that he be released from prison or placed on home confinement is DENIED.

         Dated October 16, 2020




                                               5
